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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

 

AMERICAN CHEMICAL SOCIETY,
Plaintiff,
v. No. l:l7-cv-00726-LMB-IFA

SCI-HUB d/b/a WWW.SCI-HUB.CC,
JOHN DOES 1-99,

Defendants.

 

 

AMENDED PERMANENT INJUNCTION
This action comes before the Court on Plaintiff American Chemical Society’s (“ACS”)
Motion to Amend Permanent Injunction. Having reviewed the Motion and the supporting

documentation, it is hereby:

ORDERED that Plaintiff’s Motion to Amend Permanent Injunction shall be, and hereby
is, GRANTED; and it is further

ORDERED that the injunctive relief provided herein shall amend the injunctive relief
provided in the Court’s Order dated November 3, 2017 (ECF No. 33); and it is further

ORDERED that Defendant Sci-Hub, together with its officers, directors, principals,
agents, servants, employees, successors and assigns, and all those in active concert or
participation with them, are jointly and severally enjoined from:

a. Copying, distributing, altering, displaying, hosting, selling and/or promoting
any works registered to Plaintiff ACS with the United States Copyright Offlce (“ACS’s

Copyrighted Works”), including but not limited the works identified on Exhibit E to the FAVC;

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b. Using any copy or colorable imitation of a mark registered to Plaintiff ACS With the
United States Patent and Trademark Offlce (the “ACS Marks”), including but not limited the
marks identified on Exhibit F to the FAVC, in connection with the promotion, advertisement,
display, sale, offering for sale, manufacture, printing, importation, production, circulation, or
distribution of any product or service, in such fashion as to relate or connect such product in any
way to ACS, or to any goods sold, manufactured, sponsored, approved by, or connected with
ACS; and

c. Engaging in any other activity constituting an infringement of the ACS Marks or
ACS’s Copyrighted Works, or constituting any damage to ACS’s name, reputation, or goodwill;
and it is FURTHER

ORDERED that any person or entity in active concert or participation with Defendant
Sci-Hub and with notice of the injunction, including any Intemet search engines, web hosting
and lntemet service providers, domain name registrars, domain name registries, and other
service or software providers, cease facilitating access to any or all domain names, Websites, and
services through which Defendant Sci-I-Iub engages in unlawful access to, use, reproduction, and
distribution of the ACS Marks or ACS’s Copyrighted Works (including, but not limited to, the
domain names sci-hub.ac, sci-hub.biz, sci-hub.bz, sci-hub.cc, sci-hub.cf, sci-hub.cn, sci-hub.ga,
sci-hub.gq, sci-hub.io, sci-hub.hk, sci-hub.is, sci-hub.la, sci-hub.name, sci-hub.nu, sci-hub.nz,
sci-hub.onion, scihub22266oqcxt.onion, sci-hub.org, sci-hub.tv, sci-hub.tw, sci-hub.ws, and any
other domain names now or hereafter used by Defendant Sci-Hub, as well as browser extensions
and other services and tools used to provide direct access to domain names and websites through
which Defendant Sci-I-lub engages in unlawful access to, use, reproduction, and distribution of

the ACS Marks or ACS’s Copyrighted Works); and it is FURTHER

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ORDERED that the domain name registries and/or registrars for Defendant Sci-Hub’s
domain names and Websites (including, but not limited to, the domain names sci-hub.ac, sci-
hub.biz, sci-hub.bz, sci-hub.cc, sci-hub.cf, sci-hub.cn, sci-hub.ga, sci-hub.gq, sci-hub.io, sci-
hub.hk, sci-hub.is, sci-hub.la, sci-hub.name, sci-hub.nu, sci-hub.nz, sci-hub.onion,
scihub22266oqcxt.onion, sci-hub.org, sci-hub.tv, sci-hub.tw, sci-hub.ws, and any other domain
names now or hereafter used by Defendant Sci-Hub), or their technical administrators, shall
place the domain names on registryHold/serverHold or such other status to render the

names/sites non-resolving

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v /s/
Leonle M. Brinkema

United States Dislrict Judge

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Publication Tit|e

Copyright Reg. No(s).

 

 

ACCOUNTS OF CHEMICAL RESEARCH

 

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TXOOO7094735
TXOOO7108760
TXOOO7094669
TXOOO7036462
TXOOO7049077
TXOOO7084500
TXOOO7076430
TXOOO7073120
TXOOO7088264
TXOOO7054213
TXOOO7060118
TX0007092978
TXOOO7093961
TXOOO7059932
TXOOO7079837
TX0007066238
TXOOO7093167
TX0007091873
TXOOO7188904
TX0007168708
TXOOO7169310
TXOOO7198496
TX0007320054
TXOOO7498518
TX0007320053
TX0007319196
TX0007319190
TXOOO7319188
TX0007319187
TX0007319142
TX0007319096
TX0007319095
TX0007319092
TX0007319091
TX0007315520
TX0007341950
TX0007331981
TX0007348946
TX0007369266
TX0007384459
TX0007400226
TX0007415390
TX0007427227
TX0007439214

TX0007454278
TX0007463773
TXODO7485178
TX0007495034
TX0007507175
TXGOO7516546
TXODO7527795
TX0007540217
TXOOD7565511
TX0007586039
TX0007599236
TX0007608669
TXOOO7613491
TXODO7626731
TX0007648301
TXODO7669795
TX0007674212
TXOOO7702043
TX0007722312
TX0007727737
TX0007734639
TX0007746516
TX0007753577
TX0007765664

 

 

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Publication Tit|e

Copyright Reg. No(s).

 

 

 

ACS TXu001097446 TX0007071828
TX0005827706 TX0005913775
TX0005704614 TX0008214927
TXu000894019 TX0005792571
SRu000044779 TX0007326457
SRu000044788 TX0007585684
SRuOOOD44785 TX0001371927
SRuOOOO44784 SR0000262212
SRuOOOO44783 SR0000054481
SRuOOOO44782 VAu000198212
SRuOOOO44787 VA0001876755
SRuOOOO44780 TXuOOO730190
SRuOOOO44790 TXu000145537
SRuOOOO44789 SROOOOO46892
SRuOOOO44781 TXu001207229
SRuOOOO44786 TXu000529053
TX0002121390 TX0005705609
TXuOOO771546 VA0000342679
TXuOOO449801 TX0005337162
TX0002355877 V359GD707
CSN007184O V3524D735
VAu001047160 5R0000360338
TXOOOSSSBBOO TX0007415839
TX0005533301 TXOOO7102066
TX0005382772 TXOOO7059621
TX0005531473 TX0007076892
TX0005531471 TX0007087286
TX0005531472 TXOOO7093146
TX0005694038 TX0007091501
TX0005391089 TX0007091892
TX0005145225 TX0007192267
TX0008077609
TX0006072579
TXOOO7117392
TX0007762563
TX0007762738
TXOOO7488276
TXOOO7762566
TXOOO7762571
TXOOO7488274
TXOOO7071823

ACS APPL|ED MATER|ALS & lNTERFACES TX0007403307
TXOOO7936646
TXOOO7971078
TXOOO7996978
TX0008035029
TX0008040860
TXOOO81254SO
TX0008144650

 

 

 

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Publication Title

Copyright Reg. No(s).

 

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CSN0049063
CSN0032535
CSNOO49063
CSN0032535
CSN0009494
CSN0001254
CSN0009494
CSN0001254
CSN0009494
CSN0114024
ACS CHEM|CAL BlOLOGY TXOOO7296013 TX0007378850 TX0008086088
TX000729601O TXOOO7394980 TX0008139941
CSN0147228 TX0007415382 TX0008165722
TXOOO7177883 TXOOO7427448 TX0008311792
TXOOO7095741 TXOOO7439207 TX0008325195
TX0007101236 TXOOD7454263 TX0008328563
TXOOO7057499 TX0007465896
TXOOO7084496 TX0007483540
TXOOO7047879 TXOOO7499060
TXOOO7053530 TXOOO7507169
TXOOO7079004 TX0007522601
TXOOO7047362 TX0007535197
TXOOO7048690 TX0007540223
TXOOO7083968 TX0007581444
TXOOO7076773 TX0007586040
TXOOO7076882 TX0007595871
TXOOO7097875 TX0007609835
TXOOO7075415 TX0007611355
TXOOO7072786 TX0007628827
TXOOO7076767 TX0007642206
TXOOO7076101 TXOOO7661128
TXOOO7192289 TXOOO7680449
TX0007183659 TX0007703484
TXOOO7183660 TXOOO7697414
TXOOO7198585 TXOOO7727745
TXOOO7296015 TXOOO7734596
TXOOO7296017 TX0007748372
TX0007295860 TX0007754228
TXOOO7295863 TX0007765660
TXOOO7295937 TXOOO7777272
TXOOO729594O TXOOO7792251
TX0007296003 TX0007823244
TXOOO7296005 TXOOO7826845
TXOOO7296009 TX0007833927
TXOOO7295852 TXOOO7839318
TX0007315537 TX0008196597
TXOOO7341999 TXOOO7978760
TX0007333750 TX0007993309
TX0007346450 TX0008029812
TX0007366945

 

 

 

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Publication Title Copyright Reg. No(s).
ACS COMB|NATOR|AL SCIENCE TXODO7315529
TX0007331690
TXOOO7360459
TX0007395003
TX0007426175
TXOOO7454275
TX0007476498
TX0007491060
TX0007506288
TXOOO7514897
TX0007527806
TX0007540193
TX0007560517
TX0007575069
TX0007592424
TX0007603767
TX0007616100
TXOOO7625721
TX0007642217
TX0007661124
TX0007680448
TX0007682972
TX0007697416
TX0007717834
TX0007734122
TX0007748360
TX0007748559
TX0007766038
TX0007777290
TX0007807087
TX0007823651
TX0007824994
TX0007837871
TXOOO7839323
TX0007947175
TX0007988919
TX0007993301
TX0008020450
TX0008064891
TX0008139844
TX0008208907
TX0008191902
TX0008325190
TX0008314595

 

 

 

 

 

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Publication Title

Copyright Reg. No(s).

 

 

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TX0006917496
TX0006873425
TX0006939423
TX0006978757
TX0006915221
TXOOO7036791
TXOOO7107987
TX0007112622
TXOOO7035946
TX0007100153
TXOOO7098338
TXOOO7076369
TXOOO7081290
TXOOO7087927
TXOOO7079519
TXOOO7056590
TXOOO7074434
TXOOO7076866
TXOOO7085080
TXOOO7076827
TXOOO7093161
TXOOO7078852
TX0007188925
TX0007165959
TX0007183583
TXOOO7198617
TXOOO7292750
TX0007292753
TXOOO7292754
TX0007292844
TX0007292764
TX0007292756
TX0007292758
TXOOO7301179
TXOOO7293111
TXOOO7293109
TX0007293180
TXOOO7293117
TXODO7316715
TXOOO7341817
TXOCO7334073
TX0007354649
TXOOO7369260
TX0007384052
TXOOO7403280
TX0007421898
TXOOO7435425
TXOOO7443338
TXOOO7454677
TX0007472864

TXOOO7485522
TX0007504343
TXOOO7512526
TXOOO7522660
TXOOO7535195
TX0007557201
TX0007581435
TXOOO7592930
TXOOO7602030
TX0007609825
TXOOO7621364
TXOOO7628833
TXOOO7656542
TXOOO7671965
TXOOO7714599
TXOOO7702065
TX0007715824
TXOOO7726487
TX0007739078
TX0007750824
TXOOO7756727
TX0007763323
TX0007777328
TX0007856401
TX0007823328
TX0007826489
TX0007838881
TXOOO7851422
TXOOO7941795
TX0007961835
TX0008006303
TX0008041874
TX0008128298
TX0008148133
TX0008195367
TX0008259948
TX0008322803
TX0008334851

 

 

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Pub|ieation Title Copyright Reg. No(s).
AMER|CAN CHEM|CAL SOC|ETY RE0000134276
RE0000134277
RE0000134286
RE0000134287
RE0000134288
RE0000134289
RE0000134290
RE0000134291
RE0000134292
RE0000134293
RE0000134294
RE0000134295
RE0000134278
RE0000134296
RE0000134297
RE0000134298
REGOOO134299
RE0000134279
RE0000134280
RE0000134281
RE0000134282
RE0000134283
RE0000134284
RE0000134285
REOOOO409411
CSN0001034
CSN0001495
TX0003550668
CSN0080597
TX0001342964
CSN0007010

 

 

 

 

 

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Publication Title

Copyright Reg. No(s).

 

 

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TX0006822865
TX0001741889
RE0000812044
RE0000596854
REOOOO714041
RE0000645376
RE0000552811
RE0000681312
RE0000628525
CSNOO42989

CSNOOOO441

RE0000222654
RE0000645399
RE0000681345
TXOOO7111727
TXOOO7052283
TXOOO7115494
TXOOO7104285
TX0007101189
TX0007173609
TXOOO7084594
TXOOO7045778
TXOOO7098622
TXOOO7073350
TX0007060134
TXOOO7088642
TXOOO7083322
TXOOO7059851
TXOOO7068990
TXOOO7048261
TXOOO7086749
TXOOO7045707
TXOOO7049799
TXOOO7078258
TX0007063413
TXOOO7093982
TXOOO7089443
TXOOO7095570
TXOOO7087264
TXOOO7075773
TXOOO7072626

TXOOO7109987
TXOOO7080240
TXOOO7074956
TXOOO7077547
TXOOO7067186
TXOOO7094174
TX0007103033
TX0007190833
TX0007169662
TXOOO7169305
TXOOO7169324
TXOOO7169267
TX0007169268
TXOOO7500415
TXOOO7498511
TX0007498513
TXOOO7498514
TXOOO7498516
TX0007318871
TX0007318877
TX0007318960
TX0007319357
TX0007319019
TXOOO7319330
TX0007319362
TX0007319335
TX0007319308
TXOOO7319305

 

 

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Publication Title

Copyright Reg. No(s).

 

 

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TXu000194708
PAu000775429
TX0007651927
TXOOO7263715
TX0006813414
PA0001352948
TX0006150612
V34560177

TXOOO4417257
TX0003498071
TXu000508079
V2596P447

PA0000991524
TX0000638723
TX0000260432
TXOOOO459931
TXOOO7049206
RE0000534338
RE0000511444
TXOOOO780009
RE0000884574
TX0006957760
TXOOO7033128
TX0007105390
TXOOO7108821
TXOOO7048287
TXOOO7052457
TXOOO7052446
TXOOO7112553
TXOOO710594O
TXOOO7095419
TXOOO7112501
TXOOO7095347
TXOOO7036664
TXOOO70584OO
TXOOO7058296
TXOOO7084609
TXOOO7055931
TXOOO7075787
TXOOO7075018
TXOOO7059176
TXOOO70764OO
TXOOO7076658
TX0007075403
TXOOO7060642
TXOOO7096937
TXOOO7081298
TXOOO7086788
TXOOO7053932
TXOOO7060087

TXOOO7088253
TXOOO7044249
TXOOO7067212
TXOOD7067498
TXOOO7096308
TXOOO7047344
TX0007079282
TXOOO7087157
TXOOO7047671
TXOOO7048590
TXOOO7067478
TXOOO7053117
TXOOO7054089
TXOOO7087372
TXOOO7085505
TXOOD7076214
TXOOO7061991
TXOOO7064879
TXOOO7063272
TXOOO7089174
TXOOO7089355
TXOOO7074792
TXOOO7083006
TXOOO7080126
TXOOO7085132
TXOOO7086706
TXOOO7077350
TXOOO7075504
TXOOO7072674
TXOOO7069131
TXOOO7097958
TXOOO7069556
TXOOO7066257
TXOOO7080194
TXOOO7074987
TX0007108712
TXOOO7082053
TXOOO7076930
TXOOO7080193
TXOOO7067220
TX0007215136
TXOOO7094225
TXOOO7101591
TX0007188890
TXOOO7188954
TXOOD7103665
TXOOD7190942
TXOOO7190842
TX0007169666
TX0007161699

 

 

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Pub|ication Title

Copyright Reg. No(s).

 

 

B|OCON]UGATE CHEMISTRY

 

TX0007415396
CSN0086675

TXOOO7089487
TX0006939438
TXOOO7109328
TX0007102799
TXOOO7036454
TXOOO7057496
TXOOO7084555
TXOOO7091647
TXOOO7050451
TXOOO7069783
TXOOO7067523
TXOOO7087363
TXOOO7061567
TXOOO7075842
TXOOO7076815
TXOOO7083536
TXOOO7077409
TXOOO7074651
TXOOO7091473
TXOOO7078904
TX0007188945
TXOOO7165933
TX0007221910
TXOOO7221915
TX0007315521
TXOOO7342175
TXOOO7331699
TXOOO7348902
TXOOO7369288
TX0007378960
TX0007400212
TXOOO7427231
TXOOO7439343
TXOOO7454243
TXOOO7463808
TXOOO7485173
TXOOO7491067
TXOOO7512829
TXOOO7516541
TX0007527797

TX0007540218
TX0007568229
TXOOO7575088
TX0007602024
TX0007603156
TX0007623599
TX0007626733
TXOOO7642216
TXOOO7669962
TX0007674542
TXOOO7703481
TX0007697425
TXOOO772774O
TX0007734604
TXOOO7746510
TXOOO7754234
TXOOO7766035
TXOOO7777257
TX0007792249
TX0007823557
TXOOO7826849
TX0007833921
TXOOO7839071
TXOOO7947157
TX0007984693
TX0007992957
TX0008029810
TX0008085798
TX0008144807
TX0008166068
TX0008240488
TX0008325186
TX0008334858

 

 

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Pub|ication Title

Copyright Reg. No(s).

 

 

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CSN0129659

TX0007110308
TXOOO7104007
TXOOO7094624
TX0007112871
TX0007224596
TXOOO7059083
TXOOO7097708
TXOOO7088269
TXOOO7068980
TXOOO7047672
TXOOO7059478
TXOOO7048137
TXOOO7066018
TXOOO7083882
TXOOO7083947
TXOOO7056288
TXOOO7097685
TX0007078948
TX0007189360
TX0007165772
TX0007221866
TXOOO7221867
TX0007315948
TXOOO7315959
TX0007315965
TXOOO7315968
TX0007315918
TXOOO7315919
TX0007315940
TX0007315917
TXOOO7315941
TXOOO7315943
TXOOO7315945
TX0007315947
TX0007315523
TXOOO7342029
TX0007331662
TX0007346211
TX0007361525
TX0007378846
TXOOO7394982
TX0007415342

TXODO7427212
TX0007436980
TX0007454269
TX0007467016
TX0007476494
TX0007491074
TX0007506287
TX0007514901
TX0007527802
TX0007540298
TX0007568271
TXOOO7575137
TXOOO7585183
TXOOO7603111
TXOOO7616093
TXOOO7625711
TXOOO7642196
TXOOO7661131
TX0007682979
TXOOO7697415
TXOOO7717547
TXOOO7734126
TXOOO7746506
TX0007748557
TXOOO7765653
TXOOO7777266
TX0007807084
TXOOO7823612
TXOOO7824993
TXOOO7833867
TXOOD7841589
TX0008196601
TXOOO7978767
TXOOO7993285
TX0008020443
TX0008064881
TX0008143316
TX0008166084
TX0008240500
TX0008322805
TX0008334859
TX0006812752

 

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Publication Title Copyright Reg. No(s).

C&EN CSN0001483 TX0007293242
TXOOO7297992 TX0007293237
TX0007297990 TX0007293247
TX0007297991 TX0007293244
TX0007298050 TX0007443033
TX0007297989 TX0007421886
TX0007297987 TX0007491050
TX0007298061 TX0007498662
TX0007298059 TX0007508125
TX0007298046 TX0007565522
TX0007298048 TX0007623534
TX0007298030 TXOOO7623892
TX0007297979 TX0007649212
TX0007298040 TX0007649172
TX0007298063 TX0007649185
TXOOO7298034 TXOOO7752695
TX0007298031 TX0007752651
TXOOO7297982 TXOOO7752631
TX0007298017 TX0007752592
TX0007298016 TX0007752673
TX0007297974 TX0007752583
TX0007298002 TX0007752663
TXOOO7298004 TXOOO7752428
TX0007297976 TX0007974506
TXOOO7298011 TX0007974479
TXOOO7298027 TX0007974483
TX0007298019 TX0007974474
TXOOO7298020 TX0007974470
TXOOO7298022 TX0007974383
TXOOO7293429 TXOOO7974355
TX0007300142 TX0007974243
TXOOO7300141 TX0007974317
TX0007300140 TX0007974296
TX0007300137 TX0007974308
TXOOO7300136 TX0007974312
TX0007300135 TX0007974376
TX0007300132 TX0007974286
TXOOO7300151 TX0007974360
TX0007300150 TX0007974368
TX0007300148 TX0007974372
TXOOO7300146
TXOOO7293220
TX0007293222
TX0007293225
TXOOO7293231
TXOOO7293232
TX0007293234
TX0007293236

CHEMCYCLOPED|A CSN0049273

 

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Ca.se 1:17-cv-00726-LN|B-JFA Document 4-1 Filed 07/07/17 Page 23 of 225 Page|D# 501

 

Publication Title

Copyright Reg. No(s).

 

 

CHEMlCAL & ENGlNEER|NG NEWS

 

TXOOO7443033
TXOOO7421886
TX0007491050
TXOOO7498662
TXOOO7508125
TXOOO7565522
TXOOO7623534
TXOOO7623892
TX0007649212
TX0007649172
TX0007649185
TXOOO7752695
TXOOO7752651
TX0007752631
TX0007752592
TXOOO7752673
TX0007752683
TXOOO7752663
TXOOO7752428
TX0007974506
TX0007974479
TXOOO7974483
TX0007974474
TX0007974470
TXOOO7974383
TXOOO7974355
TXOOO7974243
TX0007974317
TX0007974296
TX0007974308
TXOOO7974312
TXOOO7974376
TX0007974286
TXOOO7974360
TX0007974368

TX0007974372
TXOOO7974248
TX0007974275
TXOOD7974237
TX0008165365
TX0008165364
TX0008165359
TX0008165366
TX0008165348
TX0008165340
TX0008165329
TX0008165321
TX0008165292
TX0008165315
TX0008165306
TX0008165295
TX0008165285
TX0008165277
TX000816527O
TX0008165220
TX0008165214
TX0008165209
TX0008165191
TX0008165199
TX0008165207
TXOOO7649180
CSN0001483

RE0000266702
TX0006980647
TXOOD7106422
TXOUD7112515
TX0007108658
TX0007115361
TXOOO7108530

 

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Publication Title

Copyright Reg. No(s).

 

CHEMlCAL RESEARCH |N TOX|COLOGY

 

 

CSN0122348

CSNGO76058

CSN0122348

CSN0076058

TX0007109336
TX0007111236
TX0007058379
TXOOO7076384
TXOOO7076439
TX0007053522
TX0007088189
TX0007109664
TXOOO7053788
TXOOO7056703
TXOOO7232218
TX0007097884
TX0007075258
TXOOO7074666
TX0007097696
TX0007085632
TX000719227O
TX0007165778
TX0007189316
TX0007189326
TX0007292349
TX0007292368
TX0007292392
TX0007292394
TXOOO7292572
TXOOO7292574
TXOOO7292576
TX0007292596
TX0007292600
TX0007292604
TX0007292629
TX0007292668
TX0007322685
TX0007341934
TXOOO733412O
TXOOO7349069
TX0007369286
TX0007384061
TX0007400216
TXOOO7415384
TX0007427234
TX0007439344

TX0007454685
TXOOO7463799
TXOOO7485160
TX0007499097
TX0007512824
TXOOO7516539
TX0007532116
TX0007540219
TXOOO7565508
TX0007591219
TXOOO7597239
TX0007603155
TX0007611356
TXOOO7625732
TXOOO7656804
TX0007674568
TXOOO7669076
TXOOO7703472
TXOOO7722271
TX0007728357
TX0007738325
TX0007747610
TX0007754377
TX0007763335
TX0007777260
TX0007791817
TXOOO7827234
TX0007826855
TX0007833946
TX0007851960
TX0007941791
TX0007979036
TX0008006936
TX0008029819
TX000809412O
TX0008149732

 

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Publication Title

Copyright Reg. No(s).

 

 

CHEMICAL REV|EWS

 

CSN0001495

RE0000649391
REGOOO649393
TXOOO7093623
TX0007132998
TXOOO7106374
TXOOO7052472
TXOOO7112453
TX0007045557
TX0007049625
TX0007060680
TXOOO7081445
TXOOO7111148
TXOOO7087315
TX0007094065
TXOOO7066058
TXOOO7063680
TX000707687O
TXOOO7080238
TX0007074406
TX0007091559
TX000707731O
TX0007161638
TX0007168587
TX0007198500
TX0007175334
TX0007221860
TXOOO7316048
TX0007316042
TX0007316039
TX0007321983
TX0007321987
TX0007316765
TXOOO7316767
TXOOO7316759
TX0007316784
TX0007316049
TXOOO7316044
TXOOO7315962
TXOOO7322686
TX0007334028

TX0007337547
TXOOO7346116
TX0007361101
TXOOO7374460
TX0007395013
TX0007415350
TXOOO7426178
TX0007436964
TX0007446283
TXOOO7466810
TXOOO7483887
TXOOO7487609
TXOOO7510651
TXOOO7514882
TX0007527791
TXOOO7538592
TXOOO7557200
TX0007573084
TXOOO7585178
TX0007603108
TX0007616095
TX0007625621
TX0007644983
TX0007661980
TXOOO7684976
TX0007683161
TX0007701381
TX0007717522
TXOOO7734116
TX0007746502
TX0007748570

 

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Publication Title

Copyright Reg. No(s).

 

 

CH EM|STRY AMBASSADORS

 

CSN0081622

TXOOO7846497
TXOOO7054172
TX0006957764
TX0007108439
TX0007107991
TX0007112632
TX0007101350
TX0007058315
TX0007084576
TXOOO7076411
TX0007079247
TX0007081439
TXOOO7079023
TX0007067196
TX0007077749
TXOOO7068022
TX0007087050
TX0007053274
TXOOO7059450
TX0007063665
TX0007074810
TX0007098008
TX0007080232
TX0007077434
TX0007072853
TX0007074976
TX0007093835
TX0007093122
TX0007078976
TXOOO7192295
TXOOO719226O
TXOOO7165950
TX0007221862
TXOOO7221863
TX0007221828
TXOOO7221923
TX0007315573
TXOOO7315572
TXOOO7315576
TX0007315615
TX0007647996
TX0007315517
TXOOO7315618
TXOOO7315620
TXOOO7648000
TXOOO7315608
TXOOO7315609
TXOOO731561O
TXOOO7315612

TX0007315613
TX0007315577
TXOOO7315599
TX0007315600
TXOOO7315604
TX0007315602
TX0007316760
TXOOD7315622
TX0007316764
TX0007316763
TX0007316769
TXOOO7315560
TX0007322105
TX0007333102
TXOOO7342178
TX0007334210
TXOOD7331750
TXOOO7356832
TXOOO7348908
TX0007354574
TXOOO7369236
TX0007374170
TXOOO7383551
TXOOO73891OO
TXOOO7400162
TXOOO7442116
TX0007415389
TXOOO7426152
TXOOO7426174
TX0007434115

 

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Publicatiun Title

Copyright Reg. No(s).

 

 

CHEM|STRY OF MATER|ALS

 

CSN0081622

TXOOO7846497
TX0007054172
TX0006957764
TX0007108439
TX0007107991
TX0007112632
TX0007101350
TX0007058315
TXOOO7084576
TX0007076411
TXOOO7079247
TXOOO7081439
TXOOO7079023
TXOOO7067196
1XOOO7077749
TXOOO7068022
TX0007087050
TXOOO7053274
TX0007059450
TX0007063665
TXOOO707481O
TX0007098008
TX0007080232
TXOOO7077434
TX0007072853
TX0007074976
TX0007093835
TX0007093122
TX0007078976
TX0007192295
TX0007192260
TX0007165950
TX0007221862
TX0007221863
TX0007221828
TX0007221923
TX0007315573
TX0007315572
TX0007315576
TX0007315615
TXOOO7647996
TXOOO7315617
TX0007315618
TX0007315620
TXOOO7648000
TXOOO7315608

TX0007315609
TXOOO731561O
TX0007315612
TXOOO7315613
TX0007315577
TX0007315599
TX0007315600
TXOOO7315604
TX0007315602
TX0007316760
TX0007315622
TX0007316764
TX0007316763
TX0007316769
TXOOO7315560
TXOOO7322105
TX0007333102
TXOOO7342178
TXOOO7334210
TXOOO7331750
TX0007356832
TXOOO7348908
TX0007354574
TXOOO7369236
TXOOO7374170
TX0007383551
TXOOO73891OO
TXOOO7400162
TX0007442116
TXOOO7415389
TX0007426152
TXOOO7425174
TXOOO7434115

 

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Publication Title Copyright Reg. No(s).

CHEMlSTR¥ SOLUT|ONS PAOOGOZSS_,,Sz
TX0001869963
TX0002707999
V2860P314
V2860P315

CHEMMATFERS CSNOOSMGZ
TX0007184271
TX0007184268

CR¥STAL GROWTH & DES|GN CSN0133355 TX0007434778 TX0008327567
TX0007036563 TX0007443375
TX0007052138 TX0007458804
TX0007084622 TX0007472882
TX0007059157 TXOOO7495043
Tx0007080623 TX0007505206
TX0007051997 TX0007514349
TX000706713O TXOOO75263 14
TX0007059119 TX0007535941
TX0007048635 TX0007560515
TX0007087659 TXOOO7577147
TX0007059905 TX0007592806
TX0007059372 TX0007603211
TX0007066924 TX0007611816
TX0007091507 TX0007621352
TX0007076699 TX0007639149
TX0007119227 TX0007660672
TX0007165726 TX0007684971
TX0007221804 TX0007689727
TX0007221912 TX0007704953
TX0007314806 TX0007716845
TX0007314804 TX0007721822
TX0007311985 TXOOO7748390
TX0007314808 TX0007749263
TX0007311980 TX0007768492
TX0007311985 TX0007776793
TX0007311991 TX0007794101
TX0007311994 TX0007826747
TX0007311982 TX0007827419
TX0007311995 TX0007831321
TX0007311993 TX0007832195
TX0007311992 TX0007851928
TX0007315565 TX0007949462
TXOOO7334(]32 TXOOO7977019
TX0007334213 TX0007992933
TX0007356816 TX0008012127
TX0007354682 TX0008064885
TX0007370787 TX0008152236
TXOOO7389215 TX0008166094
TX0007442592 TX0008240487
TX0007427205 TX0008325158

 

 

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Publication Title

Copyright Reg. No(s).

 

 

 

 

ENERGY & FUELS CSN0070529 TX0007669078
TX0007113003 TX0007703488
TX0007035950 TX0007727729
TXOOO7081313 TX0007743584
TX0007077744 TX0007765647
TX0007095828 TX0007792237
TXOOO7077282 TX0007827756
TXOOO7072802 TXOOO7839094
TX0007091568 TXOOO7996982
TXOOO7168510 TX0008077041
TX0007163716 TX0008125454
TX0007295848 TX0008192109
TXOOO7295846 TX0008191905
TX0007295842 TX0008324971
TX000729584O TX0008343454
TXOOO729585$

TX0007306580
TX0007342008
TX0007349009
TX0007378849
TXOOO7443078
TX0007439328
TX0007466633
TX0007491092
TX0007516615
TX0007539654
TXOOO7575153
TX0007603129
TX0007628792
|N CHEM|STRY N/A

 

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Case 1:17-cV-00726-LN|B-.JFA Document 4-1 Filed 07/07/17 Page 30 of 225 PagelD# 508

 

Publication Title

Copyright Reg. No(s).

 

 

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RESEARCH

 

TX0007487085
TXOOO7491095
TX0007499051
TXOOO7499435
TX0007507234
TX0007577137
TX0007603825
TX0007623545
TX0007623527
TXOOO7674600
TX000766907O
TX0007682576
TXOOO7683086
TXOOO7697449
TX0007722262
TX0007719373
TX0007748533
TX0007748475
TXOOO7794114
TX0007794121
TX0007832358
TXOOO7838736
TX0007838972
CSN0089800

CSNOO70950

TX0007110294
TXOOO7105402
TX0007107977
TX0007243237
TXOOO7101112
TX0007094946
TX0007100148
TXOOO7055904
TXOOO7074511
TXOOO7098194
TX0007075993
TXOOO7076192
TXOOO7053449
TX0007053447
TX0007044155
TX0007098698
TXOOO7087122

TXOOO7067480
TX0007062211
TX0007078282
TXOOO7096892
TXOOO7076056
TX0007076349
TX0007072525
TX0007063612
TXOOD7077314
TXOOO7079833
TXOOO7069096
TX0007067453
TXOOO7080281
TXOOO7074951
TXOOO7077549
TX0007111921
TXOOO7119176
TXOOO7168618
TXOOO7168758
TXOOO7189333
TX0007189327
TX0007189332
TX0007183585
TXOOO7189323
TX0007308746
TX0007308743
TX0007308774
TXOOO7308773
TX0007308768
TXOOO7308758
TXOOD7308756
TX0007308884
TXOOO7308880
TX000730887O
TX0007308875
TX0007308865
TX0007308863

 

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Case 1:17-cv-00726-Ll\/|B-JFA Document 4-1 Filed 07/07/17 Page 31 of 225 Page|D# 509

 

Pub|ication Title

Copyright Reg. No(s).

 

 

|NORGANlC CH EMlSTRY

 

CSN0118670

TX0001063578
TX0002594336
PA0000602792
REOOOGO7083O
CSN0037612

CSN0003768

CSN0037612

CSN0003768

TX0007111673
TX0007036582
TX0007112968
TX0007095628
TX0007113036
TXOOO7035957
TXOOO7063964
TX0007045539
TXOOO7OG4097
TXOOO7102093
TXOOO7089369
TX0007077101
TXOOO7050344
TX0007059869
TXOOO7067201
TXOOO7048255
TXOOO7079272
TXOOO7067466
TXOOO7067472
TX0007053833
TXOOO70744OO
TXOOO7065552
TX0007065535
TXOOO7089370
TX0007088908
TX0007083952
TXOOO7083565
TX0007072660

TXOOO7097922
TX0007093139
TXOOO7101392
TXOOD7076087
TXOOO7087423
TX0007119191
TXOOO7103066
TX000711012O
TXOOO7189369
TX0007164142
TX0007164100
TXOOO7164134
TXOOO7164097
TX0007324390
TX0007324387
TXOOO7324383
TXOOO7324481
TX0007324496
TX0007324494
TX0007324219
TX0007324487
TX0007324215
TX0007324211
TX0007324206
TXOOO7324210
TX0007324205

 

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Pub|ication Title Copyright Reg. No(s).

JACS PA0002537904
PAu002283598
TXOOO794817O
TX0008000189
TX0007988556
TX000803337O
TX0008046548
TX0008125447
TX0008165030
TX0008216255
TX0008251686
TX0008288353
TX0008334442
TX0008343875
TX0007421902
TX0007485205
TXOOO7485142
TX0007485329
TXOOO7487052
TX0007491192
TX000749904O
TXOOO7510705
TX0007508423
TX0007521309
TXOOO7577164
TXOOO7601372
TX0007623880
TX0007623501
TX0007674697
TXOOO7669082
TX0007674430
TXOOO7683081
TXOOO7697430
TX0007719311
TX0007748726
TX0007794119
TX0007791852
TX0007832267
TX0007838975
TX0007722296
VAu001064967
VA0001745000
PAuOOS712997

 

 

 

 

 

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Pub|ication Title Copyright Reg. No(s).

JOC CSN0114859 CSN0133741
V3555D625 CSN0144302
V3513D941 V3514D552
V3517D029 V8005P218
VA0000614443 V3421Dl70
CSN0094401 TXu000134611
CSN0004194 VA0001747996
SR0000060860 SROOOO239398
PAuOOB 543651 VAuOOOOSS 645
VA11001020222 TX0001231363
SR000024S764 TXu001116501
SROOOO742734 TX0005922734
V2998P398 5Ru001165760
TXu001953657 PA0002023358
RE0000586573 PAu003438676
VAOUOO905432 PA0001755607
V3481D560 PAuODZ713678
V3477D811 PAu002408181
V3481D560 SR0000694866
V3477D811 PAu000801584
TX0007429120 PAu000653 139
SR0000292766 TX0003447112
PAu000957669 V3484D021
V3477D811 V3484DOZO
V3481DS€O TXu000887843
V8005 P24O TXOOO3432568
SRu001119573 PA0000429398
V3477D811 PAu002262693
V3481D560 VA0001185009
V3497D687 TX0006390903
CSN0133741 PAu002479891
V3481D560 TXu000242906
CSN0133741 TXOOO3282412
V3481D560 TXOOO7017191
V34770811 TX0006657868

 

 

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Publication Title

Copyright Reg. No(s).

 

 

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CH EM|STRV

 

CSN0053437

CSN0003985

TXOOO7036469
TX0007059571
TX0007112141
TX0007095658
TXOOO7101379
TXOOO7094074
TX0007092546
TXOOO7052532
TXOOO7051738
TX0007076218
TXOOO7097202
TX0007044341
TX0007088920
TXOOO7077421
TXOOO7066309
TX0007086903
TX0007100915
TXOOO7101374
TX0007092538
TXOOO7082307
TX0007093890
TXOOO7188932
TXOOO7190895
TX0007183656
TX0007169314
TX0007169295
TX000716934O
TXOOO7169277
TX0007316786
TXOOO7312105
TX0007312111
TX0007312117
TXOOO7318264
TX0007318267
TX0007312121

TX0007312132
TXOOD7312099
TX0007312103
TXOOO7312107
TXOOO7312124
TX0007312114
TX0007312119
TXODO7318275
TXOOO7310803
TX0007310799
TX0007310791
TX0007324029
TX0007324030
TXOOO7324031
TX0007324032
TXOOO7310797
TXOUD7310793
TX0007315552
TXOOO7315570
TX0007333061
TX0007342243
TX0007342347
TX0007331683
TX0007356225
TX0007348982
TXOOO7354470
TX0007366990
TXOOO7370798
TXOOO7378818
TX0007389113
TX0007400207
TXOOO7443054
TXOOO7415386
TXOOO7427184
TXOOO7427217

 

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Pub!ication Title Copyright Reg. No(s).

JOURNAL OF CHEMlCAL & ENGlNEER|NG TX0007846498 TX0007526318

DATA TXOOO7110288 TX0007540291
TXOOO7111671 TX0007560534
TXOOO7052245 TX0007573081
TX0007052058 TX0007585181
TX0007055920 TX0007603118
TX0007091659 TXOOO7611812
TXOOO70534S4 TX0007625593
TX0007049911 TXOOO7694226
TXOOO7054455 TX0007661635
TX0007068788 TX0007684979
TX0007054441 TX0007683073
TX0007057048 TX0007704606
TX0007088903 TX0007719353
TX0007075233 TX0007732711
TX0007072837 TX0007748526
1X0007079016 TX0007752467
TXOOO7076116 TX0007766129
TXOOO7119143 TX0007777364
TX0007165897 TX0007807083
TX0007189320 TX0007853279
TXOOO7189318 TX0007837877
TX0007315204 TX0007837377
TXOOO7330062 TX0007851432
TX0007315209 TXOOO7947159
TX0007315192 TX0007976976
TX0007315224 TX0008107085
TX0007315187 TX0008012148
TX0007315218 TX0008077029
TXOOO7315214 TX0008155911
TX0007315310 TX0008165723
TX0007315227 TX0008311794
TX0007330067 TX0008311265
TX0007330064 TX0008314604
TX0007322689 CSNOOO4034
TX0007334035
TX0007334261
TXOOO7348951
TX0007360375
TX0007373680
TX0007395004
TX0007415344
TXOOO7427399
TX0007436971
TX0007446053
TX0007458828
TX0007474573
TX0007487512
TX0007505176
TXOOO7516618

 

 

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Pub|ication Title Copyright Reg. No(s).

JOURNAL OF CHEMlCAL AND CSNOOO4034

ENGlNEER|NG DATA RE0000645449
RE0000645499
RE0000645538
RE0000645475
RE0000681101
RE0000681113
RE0000681112
REOOOO681123
REOOOO714022
RE0000714042
REOOOO714080
REOOOO714124
RE0000744663
RE0000744675
REOOOO744650
REOOOO744592
REOOOO775312
REOOOO775335
REOOOO77537O
RE0000775392
RE0000355216
RE0000354709
RE0000355815
RE0000355816
RE0000409457
RE0000409458
RE0000409483
RE0000409509
RE0000445882
REOOOO445905
REGOOO445927
REOOOO445946
REOOOO497878
REOOOO498413
REOOOO498414
REOOOO498418
RE0000552592
RE0000552820
REOOOOSSZESO
RE0000552705
RE0000596630
RE0000596648
RE0000596667
REOOODSBGSOO
RE0000312012
CSN0004034

 

 

 

 

 

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Publication Title

Copyright Reg. No[s).

 

 

JOURNAL OF CHEMlCAL |NFORMAT|ON

AND |VlODELlNG

 

CSN0146438

TX0008018882
TXOOO7108776
TXOOO7096208
TX0007036375
TX0007057505
TX0007052550
TXOOO7076671
TXOOO7081308
TX0007088277
TX0007067503
TXOOO7079499
TX0007053723
TX0007056708
TXOOO7076876
TXOOO7086900
TX0007074374
TXOOO7072818
TXOOO7093156
TX0007076710
TX0007165904
TXOOO7183590
TX0007221835
TXOOO7308324
TXOOO7308322
TX0007308318
TX0007308320
TXOOO7308329
TX0007308323
TXOOO7308328
TXOOO7308311
TXOOO7308312
TXOOO7308313
TXOOO7308314
TXOOO7316705
TXOOO7334140
TXOOO7336586
TX0007354807
TX0007367868
TX0007384482
TX0007403285
TX0007421896
TX0007432255
TX0007443350
TX0007458151
TX0007472872

TX0007485364
TX0007504132
TX0007508117
TX0007523460
TX0007535150
TX0007560522
TXOOO7581439
TX0007592851
TX0007602038
TXOOO7603166
TXOOO7623606
TXOOD7653848
TX0007671095
TX0007700936
TXOOO7694513
TX0007716615
TX0007725500
TX0007739129
TXOOO7748599
TX0007756755
TX0007766997
TX0007776764
TX0007827OD7
TX0007823515
TXOUO7826686
TXOOO7832349
TX0007851827
TXOOO7941785
TXOOO7984695
TX000800694O
TX0008029817
TX0008086082
TX0008139945
TX0008208909
TX0008250303
TX0008294768
TX0008343451

 

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Publication Title Copyright Reg. No(s).

JOURNAL OF CH EM lCAL THEORY AN D TXOOO7456827 TXOOO7427193

COMPUTAT|ON TX0007491081 TX0007436977
TXOOO7683095 TX0007446245
TX0007697427 TX0007476484
TXOOO7833908 TXOOO7506201
TXOOO7992945 TX0007516620
CSN0146439 TXOOO7526315
TXOOO7111717 TXOOD7538597
TX0007052310 TX0007560528
TX0007095081 TX0007575095
TX000722553O TX0007585180
TX0007059072 TXOOO7603116
TX0007078326 TXOOO7616094
TX0007051640 TX0007648876
TXOOO7069788 TXOOO7661688
TXOOO7044184 TXOOO7684978
TXOOO7048692 TXOOO7717550
TXOOO7049520 TX0007734120
TXOOO7111003 TX0007743585
TX0007103981 TX0007752482
TXOOO7083495 TXOOO7766008
TXOOO7092138 TXOOO7777289
TXOOO7066330 TX0007807962
TXOOO7079027 TXOOO7823566
TXOOO7119148 TX0007824991
TXOOO7221814 TXOOO7841278
TXOOO7301735 TXOOO7939509
TX0007301732 TX0007988921
TX0007301724 TX0008020438
TXOOO7301718 TX0008064877
TX0007301711 TX0008152232
TXOOO7301685 TX0008208908
TXOOO7301677 TX0008240499
TXOUO7301673 TX0008325029
TX0007301669 TX0008328569
TX0007301664
TX0007301663
TXOOO7301662
TX0007315522
TX0007334064
TX0007331589
TX0007346108
TX0007360448
TX0007378820
TX0007394975
TX0007415356

 

 

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Pub|ication Title Copyright Reg. No(s).
JOURNAL OF COMB|NATOR|AL CHElVllSTRY TX0007947175

TXOOO7988919
TXOOO7993301
TX0008020450
TX0008064891
TX0008139844
TX0008208907
TX0008191902
TX0008325190
TX0008314595
CSN0126974

TX0007106382
TX0007101214
TX0007084512
TXOOO7079169
TXOOO7068986
TX0007049776
TX0007103999
TX0007083101
TX0007079451
TXOOO7168505
TX0007159336
TX0007293183
TX0007293189
TXOOO7293187
TX0007293193
TX0007293197
TXOOO7293201

 

 

 

 

 

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Publication Title

Copyright Reg. No(s).

 

JOURNAL OF MEDlC|NAL CHElVllSTRY

 

 

CSN0037711

CSNOOO4164

TX0007081564
TX0007095590
TX0007095525
TX0007093749
TX0007101288
TX0007057491
TX0007059020
TX0007063975
TX0007098618
TX0007076357
TX0007051028
TX0007097521
TX0007053452
TXOOO7088279
TX0007067117
TX0007068541
TXOOO7096306
TX0007089525
TX0007092948
TX0007062202
TX0007085788
TX0007065501
TXOOO7074010
TX0007095652
TX0007082398
TXOOO7089184
TXOOO7087364
TX0007074426
TX0007072961
TXOOO7069489
TXOOO7100951
TXOOO7092645
TX0007092276
TXOOO7082257
TX0007093011
TX0007188968
TXOOO7189368
TXOOO7169677

TX0007161696
TXOOO7151656
TX0007161649
TXOOO7161704
TX0007320039
TX0007320045
TX0007320025
TX0007320032
TX0007320030
TX0007315392
TXOOD7315373
TXOOO7315374
TXOOO7315345
TXOOD7315347
TXOOO7327486
TXOOD7320042
TXOOO7327492
TXOOO7327496
TX0007352635
TXOOO7327561
TXOOO7327565
TXOOD7352650
TX0007352643
TXOOD7352639
TXOOO7352646
TXOOO7320149
TX0007327504
TXOOO7320143
TX0007322670
TX0007322134

 

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JOURNALOFNATURALPRODUCTS

CSN0114964

TX0007107475
TX0007131427
TXOOO7036767
TXOOO7067733
TX0007057861
TXOOO7048072
TX0007146377
TX0007064911
TXOOO7057847
TX0007116451
TXOOO7102769
TX0007080201
TX0007113127
TX0007098543
TXOOO7092248
TX0007078805
TX0007103881
TX0007168602
TX0007169319
TX0007198499
TX0007292430
TX0007292479
TX0007292483
TX0007292486
TX0007292402
TX0007292405
TX0007292424
TX0007292427
TX0007292428
TXOOO7293143
TX0007293145
TXOOO7293148
TX0007316804
TX0007341927
TXOOO7345167
TXOOO7354486
TX0007369259
TXOOO7383699
TX0007400233
TX0007421893
TX0007427230
TX0007443351
TX0007458180
TX0007472880

TXOOO7485284
TX0007504344
TX0007508107
TXOOO7526304
TX0007535161
TX0007560520
TXOOO7558672
TX0007592855
TX0007603220
TX0007611779
TX0007623590
TX0007631372
TX0007656807
TX0007674559
TX0007700940
TX0007702047
TX0007722250
TX0007726494
TXOOO7739074
TX0007747620
TX0007756748
TX0007763322
TX0007777259
TX0007826996
TX0007822909
TX0007826490
TXOOO7832251
TX0007852601
TX0007941788
TXOOO7979038
TX0008006938
TX0008041871
TX0008086085
TX0008140066
TX0008166061
TX0008296846
TX0008305133
TX0008351857
TX0007271107

 

 

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Publication Title Copyright Reg. No(s).
JOURNAL OF PHYS|CAL AND CHEMlCAL V3442D800 TX0007841584
REFERENCE DATA CSN0011699 TX0007896041
TX0007106429 TX0007998478
TX0007067730 TX0007991715
TX0007071611 TX0008071946
TX0007095130 TX0008123592
TX0007103987 TX0008195324
TXOOO7097567 TX0008274824
TX0007103902 TX0008301524
TX0007223153 TX0008296609
TX0007201654 CSN0011699
TX0007316112 TX0005287883
TX0007316110 TX0005822493
TXOOO7316125 TX0005718620
TX0007401186 TX0005822494
TXOOO7440859
TXOOO7481565
TX0007521585
TX0007560500
TX0007609423
TX0007654876
TX0007685526
TX0007724801
TX0007756711
TX0007795609

 

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Publication Title Copyright Reg. No(s).

JOURNAL OF PROTEO|V|E RESEARCH CSN0136875 TX0007476481
TX0007110196 TX0007487537
TX0006941438 TX0007499473
TX0007112477 TX0007516617
TX0007058981 TX0007526438
TX0007098627 TX0007535939
TX0007057648 TX0007560518
TX0007052031 TX0007S77041
TX0007048691 TX0007585182
TX0007048608 TX0007603117
TX0007059492 TX0007611815
TX0007063383 TX0007625713
TX0007069202 TX0007639141
TX0007077397 TX0007653844
TX0007076784 TX0007671967
TX0007076772 TX0007680452
TX0007104620 TX0007704988
TX0007165912 TX000771784O
TXOOO7221827 TX0007731233
TX0007221822 TX0007734638
TX0007296799 TX0007748582
TX0007296805 TX0007765763
TX0007296810 TX0007765213
TX0007296921 TX0007793755
TX0007296922 TX0007826773
TXOOO7296944 TX0007827423
TX0007301199 TX000783137O
TX0007301195 TX0007832337
TX0007301191 TX0007851428
TX0007301188 TX0008196593
TX0007301184 TX0007979029
TX0007301181 TX0007992926
TX0007315526 TX0008012139
TX0007334039 TX0008064887
TX0007342357 TX0008148129
TX0007336605 TX0008166106
TX0007354624 TX0008240494
TX0007370778 TX0008303759
TX0007384439 TX0008327541
TX0007450867
TX0007427283
TX0007434787
TX0007443359
TX0007458155

 

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Publication Title Copyright Reg. No(s).

JOURNAL OF THE AMERICAN CHEMlCAL RE0000177532 TX0007094673

SGC]ETY RE0000177644 TXOOO7105929
RE0000177678 TXOOO7103552
RE0000177575 TXOOO7095865
TX0004804964 TXOOO7095135
TX0007421902 TX0007092567
TX0007485205 TX0007094313
TXOOO7485142 TXOOO7092514
TXOOO7485329 TX0007058355
TX0007487052 TX0007100146
TXOOO7491192 TXOOO7052502
TXOOO749904O TX0007058909
TX0007510705 TX0007058964
TXOOO7508423 TX0007095864
TXOOO7521309 TX0007083835
TXOOO7577164 TX0007075810
TX0007601372 TXOOO7076532
TX0007623880 TX0007079173
TXOOO7623501 TXOOO7076104
TXOOO7674597 TX0007081435
TX0007669082 TX0007050430
TXOOO7674430 TXOOO7050434
TXOOO7683081 TXOOO7056059
TX0007697430 TX0007088259
TXOOO7719311 TXOOO706718O
TXOOO7748726 TXOOO7067512
TX0007794119 TXOOO7072564
TX0007791852
TX0007832267
TXOOO7838975
TXOOO7054157
CSN0004280
TXOOO7101594
TX0006939443
TX0006939390
TX0006980655
TXOOO7106425
TX0007059579
TXOOO7107947
TX0007106124
TXOOO7036566

 

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Case 1:17-cv-00726-L|\/|B-JFA Document 4-1 Filed 07/07/17 Page 45 of 225 Page|D# 523

 

 

 

Publication Title Copyright Reg. No(s).

LANG|V|U|R TXu000565988 TX0007307707
TX0008038598 TX0007320114
TX0007110411 TX0007320116
TX0007033115 TX0007308213
TX0007052237 TX0007315872
TX0007036588 TX0007308211
TX0007100758 TX0007308220
TX0007100760 TX0007308218
TX0007036682 TX0007315870
TX0007100122 TX000731582O
TX0007055926 TX0007315815
TXOOO7074502 TX0007330417
TXOOO7054257 TX0007325790
TX0007076635 TX0007325792
TX0007058158 TX0007330403
TX0007054360 TX0007330408
TX0007082952 TX0007333770
TX0007079035 TX0007333008
TX0007067189 TX0007333094
TX0007059076 TX0007334063
TX0007048600 TX0007342044
TX0007093004 TX0007331695
TX0007067473 TX0007336538
TX0007074642 TX0007346107
TX0007065227 TX0007354501
TX0007080111 TX0007361864
TX0007074754 TX0007370791
TX0007083680 TX0007378847
TX0007087231 TX0007383830
TX0007077983 TX0007394991
TX0007072768 TX0007403335
TX0007100884 TX0007415353
TX0007093852 TX0007427148
TX0007072328 TX0007426123
TXOOO7087403 TX0007435440
TXOOO7092985 TX0007437915
TX0007168685 TX0007442160
TX0007168738 TX0007446269
TX0007189348 TX0007458173
TX0007163714 TX0007466647
TX0007163713 TX0007474592
TX0007183594 TX0007485155
TX0007163715 TX0007483550
TX0007307714 TX0007495045
TX0007307720 TX0007487021
TX0007307710 TX0007491097
TX0007320100 TX0007499000
TX0007320102 TX0007504129
TX0007320111 TX0007499430
TX0007320106 TX0007506192

 

 

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Publication Title Copyright Reg. No(s).

NIACROMOLECULES CSN0004710 TX0007319813
TX0006957769 TX0007319820
TX0007108481 TX0007319818
TX0007036595 TX0007319872
TX0007094682 TX0007319461
TX0007052048 TX0007319456
TX0007092575 TX0007319433
TX0007091778 TX0007319829
TXOOO7058335 TX0007319437
TXOOO7084603 TXOOO7319453
TX0007045642 TX0007319463
TX0007076394 TX0007319441
TX0007079284 TX0007319399
TX0007097481 TX0007319416
TX0007060080 TX0007319414
TX0007079013 TX0007319411
TX0007044235 TX0007319366
TXOOO7068495 TX0007319364
TXOOO7068144 TX0007319361
TX0007086994 TX0007319359
TX0007099725 TX0007319355
TX0007092983 TX0007319331
TX0007049986 TX0007319328
TX0007062031 TX0007319326
TX0007076509 TX0007315524
TX0007063673 TX0007315548
TX0007074798 TX0007316630
TX0007091850 TX0007342223
TX0007066900 TX0007334165
TXOOO7075406 TXOOO7337587
TXOOO7097668
TX0007069405
TX0007075003
TX0007082064
TX0007080173
TX0007092653
TXOOO7189365
TX0007168634
TXOOO7192262
TX0007165762
TX0007221890
TX0007164149
TX0007164106
TXOOO7164152

 

 

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Pub|ication Title Copyright Reg. No(s).

ORGAN|C LETTERS CSN0128945 TX0007330398
TX0006821670 TX0007330390
TX0007033137 TX0007330393
TX0007106297 TX0007330394
TX0007108807 TX0007320986
TX0007052225 TX0007320987
TX0007111224 TX0007320988
TX0007052210 TX0007320981
TX0007094345 TX0007320983
TX0007091549 TX0007320984
TX0007055888 TX0007320976
TXOOO7064099 TXOOO7320978
TX0007083859 TX0007320977
TX0007076622 TX0007320979
TX0007088650 TX0007320973
TX0007056078 TX0007320975
TX0007049862 TX0007315584
TX000707897O TX0007315585
TX0007101936 TX0007320971
TX0007066265 TX0007334169
TX0007077790 TX0007333070
TX0007045666 TX0007333016
TX0007056476 TX0007334065
TX0007061804 TX0007341803
TX0007083951 TX0007334182
TX0007061829 TX0007334121
TX0007076043 TX0007356806
TXOOO7089419 TXOOO7354554
TX0007083225 TX0007361526
TX0007097863 TX0007367852
TX0007077384 TX0007374172
TX0007058717 TX0007383873
TX0007086874 TX0007389115
TX0007080231 TX0007403308
TX0007094472 TX0007415333
TX0007076068 TX0007421889
TXOOO7078928 TX0007426135
TX0007119200 TX0007435431
TX0007104664 TX0007436973
TX0007190990 TX0007443348
TX0007221793 TX0007446221
TX0007221813 TX0007458200
TX0007221801
TX0007161643
TX0007315581
TX0007315582
TX0007315583
TX0007330397
TX0007330400

 

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Publication Title Copyright Reg, No(s).

ORGANlC PROCESS RESEARCH & V3483D557 TX0007680437

DEVELOPMENT CSN0121398 TX000770347O
TX0007107984 TX0007697727
TXOOO7095596 TXOOO7728356
TX0007063972 TX0007738327
TX0007081319 TX0007748369
TX0007101943 TX0007754379
TXOOO7083973 TXOOO7766118
TX0007103962 TX0007776792
TX0007092177 TX0007791946
TX0007093179 TX0007826661
TX0007103051 TXOOO7826867
TXOOO7159329 TXOOO7833978
TXOOO7293208 TXOOO7839336
TX0007293210 TXOOO7947170
TX0007293212 TXOOD797697O
TX0007293213 TX0008006947
TX0007376751 TX0008029503
TX0007293216 TX0008128294
TXOOO7315547 TX0008139949
TX0007331676 TX0008166066
TX0007369306 TX0008191901
TX0007403311 TX0008315667
TXOOO7426126 TX0008343448
TXOOO7454261
TXOOO7485501
TXOOO7499140
TX0007501903
TX0007523489
TXOOO7532123
TXOOO7540213
TXOOO7574760
TX0007591222
TX0007603816
TXOOO7609833
TXOOO7613496
TXOOO7628840
TX0007642197
TX0007651385

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Publication Title

Copyright Reg. No(s).

 

 

THE JOURNAL OF ORGAN|C CHElVllSTRY

 

RE0000035657
RE0000035798
RE0000035807
RE0000035672
RE0000035687
RE0000035708
RE0000035723
RE0000035729
RE0000035761
RE0000035784
RE0000055086
RE0000055099
RE0000055097
RE0000055087
REOOOGOSSOBS
RE0000055089
RE0000055091
RE0000055092
RE0000055094
REOOOOOSSlOl
REOOOOOSSlOO
RE0000109225
RE0000109300
RE0000109278
RE0000109290
R50000109214
RE0000109207
R50000109194
RE0000109186
RE0000109271
RE0000109264
RE0000109246
RE0000109238
RE0000177542
RE0000177686
RE0000177698
RE0000222642
RE0000177556
RE0000177559
RE0000177569
RE0000177581
RE0000177595
RE0000177647
RE0000177661
RE0000177682
RE0000222434
RE0000222493
REOOOO222501
RE0000222439

R50000222448
R50000222454
RE0000222459
R50000222466
R50000222476
R50000222479
R50000222490
RE0000267307
R50000266696
RE0000266697
R50000311s13
RE0000267311
R50000267317
R50000267315
R50000266676
R50000266579
RE0000266686
R50000266692
R50000266694
R50000311819
RE0000311921
R50000311929
R50000355190
R50000311829
R50000311340
RE0000311847
RE0000311862
R50000311873
R50000311888
R50000311900
R50000311914
R50000355195
R50000355159
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Case 1:17-cv-00726-L|V|B-.JFA Document 4-1 Filed 07/07/17 Page 50 of 225 Page|D# 528

 

 

 

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Exhibit F

 

Case 1:17-CV-00726-L|\/|B-.]FA Document 44 Filed 03/28/18 Page 45 of 57 Page|D# 1509
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pharmacology of plants, animals, and compounds of
natural origin

412 Non~downloadable electronic publications in the
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5047038 ACS OMEGA 9/20/ 16 9: Downloadable electronic journal in the fields of

` y chemistry and sciences that involve chemistry

41: Non-downloadable electronic journal in the fields of
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` ' journals in the field ofchemistry, chemical engineering
and materials science, and the application domain ot`allv
y energy research
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and application of sensors that are integral to chemistry
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nature of journals m the field of the theory, design,
mechanism, and application ol` sensors that are integral to
;chemistry and other allied fields

:5003913' CHEMISTRY SOLUTlONS 7/19/16 411 Providing an online periodical directed to educators
§ ' providing standar cls, guidelines and curricula m the
fields of chemistry and sciences that involve chemistry

§_4991705 ACS INFECTIOUS DISEASES 7/5/ 16 92 Downloadable online publications, namely, journals in
~ the field of chemistry and sciences that involve chemistry
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journals in the field of chemistry and sciences that

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newsletters and teacher' s guides in the field of science

l6: Newsletteis m the field of science for students, issued
periodically

41: Non-downloadable electronic publications in the
nature of articles in the field of science; educational
services, namely, providing a website featuring
educational information for teachers in the field of

 

 

 

 

 

 

 

 

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SCIENCE & ENGINEERING `ournals in the field of biomaterials and biomedical
' technology

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Case 1:17-CV-00726-L|\/|B-.]FA Document 44 Filed 03/28/18 Page 46 of 57 Page|D# 1510
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l l .» »_» v v n l lbiomedical technology

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5 ' journals in the field of bioconjugate chemistry »
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;4948912 CHEMICAL & ENGlNEERING 5/24/ 16 9: Downloadable electronic publications in the nature of
: NEWS a magazine in the field of chemistry and chemical
engineering

41: Providing a website featuring blogs and non-
downloadable publications` in the nature of magazines in
the field(s) of chemistry and chemical engineering
Providing information news and commentary in the field
of current events relating to chemistry and chemical
engineering

§4925050 ORGAN]C LETTERS 5/3/ 16 9: Downloadable electronic publications in the nature of
3 ' ' journals in the field of organic chemistry

411 Non-downloadable electronic publications in the
nature ofjoiu'nals in the field of organic chemistry

4916563 ACS APPL[ED MATERIALS & 3/1 5/16 9: Downloadab|e electronic publications in the nature of
' INTERFACES ' journals in the field of applied materials science and
j engineering

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~ to promote the sale of open access publications in the
field of chemistry; promoting the funding ot` open access
publications in the iie|d of chemistry for others by means
ot_` arranging and conducting incentive reward programs

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journals and periodicals, brochures, painph|ets, manuals,
books, catalogs, newsletters, and magazines in the fields
of chem istry and sciences that involve chemistry
35: Asscciation services, namely, promoting chemistry,»
sciences that involve chem isny, and the interests of
students and professionals stall degree levels audio all
fields of chemistry and sciences/engineering that involve
chemistty; business administration and management of
grants, fellowships, scholaiships, awards, internships, `
and cooperative education opportunities;job searching
and career placement services; business and professional
networking
36: Providing, processing, reviewing`,` and managing
grants, fellowships, and scholarships, related to all fields
of chemistry and sciences that involve chemistry
41: Educational services, namely, providing internships
and fellowships and cooperative education exchange z
programs in the fields of chemistry and sciences that
involve chemistry; publication ofjournals, periodicals,~

 

 

 

 

 

 

 

 

 

 

 

 

 

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brochures, pamphlets, manuals, books, catalogs, and
newslettexs, and magazines in the fields ofchemiscry;

` educational serviccs, namely, conducting seminars,
classes, conferences, meetings, and workshops in the
iields of chemistry and sciences that involve chemistry;
§ providing online newsletters and magazines in the fields
of chemistry and sciences that involve chemistry;

' developing curriculum for educators for providing
educational standards and guidelines in the fields of

~ chemistry and sciences that involve chemistry

42: Providing educational information in the fields of
chemistry and sciences that involve chemistry

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f ' ' the field of chemistry and sciences that involve chemistry ,
41: Non-downloadable electronic publications, namely,
'journals in the field of chemistry and sciences that
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7 journals, magazines and written articles in thc field of

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41 : Non-downloadable electronic publications in the
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chemistry and sciences that involve chemistry

352 Association services, namely, promoting the interests
of chemistry teachers, chemistry, and sciences that
involve chemistry ~

41: Educational services, namely, conducting
conferences and workshops in the fields of chemistry and
sciences that involve chemistry; providing online `
newsletters, magazines and curricu|ar resources in the
nature of lesson plans, laboratory experiments,
educational videos, educational demonstrations, and
interactive, animated models, all in the fields of
chemistry and sciences that involve chemistry

42: Providing educational information in the fields of
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Case 1:17-cv-OO726-LMB-.JFA Document 4-1 Filed 07/07/17 Page 55 of 225 Page|D# 533

 

 

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41: Non~downloadable electronic publications in the
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` ' "' business and professional nctworklng; business research
using focus groups; providing information about writing
proposals for education grants; providing information
about administration and management of education
grants
36: Providing financial information about education
grants, fellowships and scholarships `

41: Providing education information in the academic
fields of chemistry and sciences that involve chemistry;
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seminars, classes, conferences and workshops in the
fields of chemistry and sciences that involve chemistry;
providing information about internships in the fields of i'
chemistry and sciences that involve chemistry; providing
information about writing in professional joumals other
than for advertising or publicity; providing information‘
about publishing ofbool<s; providing information about
research in the field of education; providing information
about cooperative educational opportunities; providing
information about fellowships in the nature of

§ § , § educational student externship opportunities

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biological chemistry
41 : Non'dcwnloadable publications, namely, non-
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9: Down|oedable publications, namely, articles in the
field of` Organometallic Chemistry

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Chemistry

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the field of Organometallic Chemistry "

 

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42: Providing a website featuring links to information
and news articles in the field of analytical science;
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42: Providing a website featuring links to information
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j providing a website featuring news articles and

information in the field of materials science

 

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NANO SCENE

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41 : Providing an online electronic newsletter delivered
by electronic feed or electronic»mail in the fields of
nanoscience and nanotechnology

42: Providing a website featuring links to information
and news articles in the fields of nanoscience and
nanotechnology; providing a website featuring news
articles and information in the fields of nanoscience and
nanotechnology

 

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EernoNr/rENTAL source

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4 l: Providing an online electronic newsletter delivered
by electronic feed or electronic mail in the fields of
environmental science and policy relating thereto

 

42: Providing a website featuring links to information
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Case 1:174cv-00726-LMB-JFA Document 4-1 Filed 07/07/17 Page 57 of 225 Page|D# 535

 

biological and chemical sciences

42: Providing a website featuring links to information

and news articles in the fields of biological and chemical l
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4/9/13

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research` in environmental science and technology

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4l: Educational services, namely, providing online
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' CHEMISTRY

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9: Downloadable electronic publications, namely,
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of medicinal chemistry `
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9; Downloadable electronic publications namely,
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9: Downloadable publications, namely, a scientific
research journal containing articles and information m
the field of catalysis science

4 l: Non-downloadable publications, namely, a scientiiic

 

 

 

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research journal containing articles and information in

; the'field of catalysis science

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software for retrieving scientific articies ii'om electronic
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and news for download and ieview j

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' seminars in the field of chemistry and distribution of
seminar materials in connection therewith

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' '~; j ‘ 1 ' ofappliedmaterials science and engineering

y4l: Providing an online scientific research journal
containing articles and information in the fields of
applied materials science and engineering

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NEUROSCIENCE neumscience, namely, a scientific research journal

’ ` containing articles related to the science of neurological
systems at the interface of clieinistry, biology, medicine
and bioengineering

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the field of neuroscience, namely, a scientific research
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neurological systems at the interface of chemistiy,
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ENVIRONMENT leview of manuscript submissions to scientific journals in
y y the field of chemistry and chemistry related sciences
_ 3118949~‘C}IEMUNITY NEWS 7/25/06 41:Online association newsletter in the field of science
‘ ~ education
3185324 ACS PRF 12/19/06 1362 Providing funding for advanced scientific education
f concerning petroleum and fundamental research
j , y j » / concerning petroleum
1 336!217': ACS GREE,N CHEMISTRY ll 1108 352 Providing information to the public to increase
lNSTITU‘i'E awareness and undei standing ct` green chemistry and its
benefits; promoting the services of others by distributing
materials on funding, research and educational

 

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opportunities in the iield of green chemistry through a
variety ot` methods; industrial management assistance y
° ` ' namely, aiding businesses with industrial implementation v
of green chemistry principles
4l: Educational services, namely, providing workshops
for students, faculty, and experienced scientists in the

field of green chemistry; Organization of conferences and »
”5 symposia in green chemistl'y; Providing recognition and
incentives by the way of administering all awards
program to demonstrate excellence in the field of green

 

 

 

 

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2428454 JOC 2113/01 l6: Scienti§cjournal dealing with researchin organic
1 chemistry

 

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' l of chemistry, chemical engineering and scientific fields
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1 1887129 IN CHEMISTRY 4/4/95 16: Association magazine for students of chemistry-
~ related disciplines

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to the chemical industry through the publication of`

periodicals, pamphlets, and books; consultation and

' advisory service to educational institutions for the

' improvement of courses in chemistry; providing the
means of contact between prospective employers and
applicants for employment in the chemical field;
operation of national and regional meetings for the
presentation and discussion of recent developments 111

: chemistry; supplying technical advice to divisions and _
agencies ofthe u. s. govemment; administering awards l
established by others recognizing notable contributions to
chemistry; and establishing standards of purity for
laboratory chemicals

 

 

 

 

 

 

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g g in the field of science '
148]565 AMER]CAN CHEMICAL 3/22/88 16: Books and journals, catalogs of books and journals,
. 1 SOCIETY newsletters, and manuals, in the fields of science

4l: Educational services in the field of science rendered
by printed publications, by electronic media, and by
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: 1329533- CHEMCYCLOPEDLA 4,/9/85 16: A scientific journal cataloging named chemicals and
5 ' ~ ' providing additional information regarding application,
use and handling of said chemicals

` 1312587 S T N INTERNAT]ONAL 1/1/85 352 Computerized information storage and retrieval
` servicesin the scientific and technical fields

1157254' JOURNAL OF PHYSICAL AND 619/81 16: A quarterly published journal containing critically
CHEMICAL R.EI_"ER.ENCE evaluated physical and chemical property data, fully
` DATA documented as to the original sources and the criteria
y used for evaluation and, also, including critical reviews
of measurement techniques

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' journals in the field of analytical chemistry
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